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UNITED STATES OF AMERlCA_, )
Plaintiff )
)
vs. `) mo ,
)
KRISTEN GI'LBERT, ) .
Defendant )
D T KRISTEN GILBERT'S ME RA IN REPLY T

GOVERNMENT'S RESPONSE TO DEFENDANI`. KRISTEN GTLBERT‘S. MC)TIC)N TO
EXCLUDE TESTUV[ONY OF DR. RIEDERS &. lWILLIAM Vl§§KEBI

The Best E m n annot Remed Slo Unscienti

The fact that NMS used HPLC-MS/MS in its tests cannot overcome the fact that NMS did
not use generally accepted cross-cheeks of its results. Dr. Alan W`u, an expert upon whom the
Govemment relies, stressed in “l\/liniinal Standards t`or the Perl`ormanee and lnterpretation of
'l"oxicolog},/r Tests in Legal Proceedings.“ Jonrnal ofForensz`¢: Scz`ence 1999‘. 44 (3) 516, the
consequences of erroneously produced or interpreted test results in criminal and civil cases. Wu
et als. urge a conservative approach in interpretation of test resultsh HPLC*MS/MS can have
“limitations depending on the mode of operation, the experience of the operator performing the
test, and the toxicologist interpreting the result data can he manipulated to arrive at an
erroneous eonclusion.“ Id. at 521.' Tlie failure ot`l`-l'l\/TS to use generally accepted cross-checks

permits mistakes and manipulation

 

' The authors presented four cases where the standard tenets of sound forensic practice were not adhered to.
Ironically, at least one ot`thetn (`(Iase No_ l), was a presentation by Dr. Rieders. Srare v. Kelley, 199 Conn. Super.

taxis 2105 only 29, 1997).

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The Government is Tl‘VinE to Hav i B th Wa s.

When it suits their purposes, the prosecutors claim that NMS test results were the product of
accurate measurements of metanepbrine and nonnetanephrine levels, and that this was a
quantitative test. When, however, the methodology is ehallenged, the Govemment retorts that
the test Was merely qualitativep and that safeguards and checks that would normally be employed
in Scientitic toxicology testing were not necessary

Attempts to justify the failure of l‘~IMS to use appropriate calibration techniques:

... multiple testing of samples is not necessary when the analysis being conducted
is qualitative rather than quantitative Dr. R_ieders speciiically testified that the
analysis he conducted was M quantitative At one point_, he explained that he

only wanted to know if there was a little, a lot, or a whole boatload of
metanephrine.” (Governnient Response at 25).

In response to the challenge to the manner in and location from which tissue samples were

drawn, the Government stated that:
Where, as here, the only question is Whether the compound exists in sufficient

quantities to be detected at the time of exliumation and autopsy, then the testing of
peripheral tissue samples is not necessary (_Ciovemment Response at 28).

In reality, as shown in his grand jury testimonyj attached as an exhibit to Defendant’s Motion
to Dismiss, and in Governrnent exhibits at the Daubert bearing, Dr. Rieders consistently relied
upon his ability to quantitatc the amount of nietanephrine and normetanephrine allegedly found
in the serum and tissue of the embalnied., exhumed patients as the basis of his opinions.

NMS provided data which clearly and unequivocally claimed that all of the work on the cases
was being represented as quantitative (including the reports to Agent Saclrman concerning
Messrs. Hudon and Sl{Wira, and the handwritten Jagodowslci “report,” along With the back - of
the _ envelope notes on Mr. Cutting), all of which were introduced at the Dcubert hearing The
Govet‘nment persisted in this claim right to the eve of the Doul)err hearings During the hearing,

Dr. Rieders recharacterized his techniques as “qualitative,” designed to determine merely the

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presence or absence of chemical compounds The attempt to try to backtrack on the stand and
suggest to the Court that they were always doing qualitative Work is absurd and, franklyl
insulting.

Yet, despite this, the Government feels free to cite levels of metanephrinc allegedly found in
two of the deceased patients as having been quantified, in order to rebut the effect of
authoritative scientific literature concerning elevated, endogcnous metanephrine levels.
(Government Response at 13).

In reality, this leaves this Court with hodge-podge of opinions based upon a test of
questionable pedigree which the Govermnent tri es to characterize as qualitative “plus.” It is
hardly likely that any court should_, or any scientific joumal would_, accept a purported
determination stated in terms of “a littlc, a lot, or a whole boatload.”

lf, at the end of thc day, all Dr. Rieders is left to say is that his testing “found" metanephrinc
in these alleged victims, such testimony is of no usc to the fact finder.2 Messrs. Hudon and
Jagodowski both received resuscitative epincphrinc during their codes due to cardiac arrest. All
the patients were chronically and acutely ill and were in the lC.l_l prior to their cardiac incidents.
Both Messrs. Cutting and Skwira should also reasonably be expected to have had elevated levels
of metanephrinc in them at the times of their deaths. See Worrsmnn, et cts, “Adrenomedullary
Response to Maximal Stress in Humans. Amerr'r.'on Jonraal ofMedtt.-z`ne 77, 779, 780-733

(Navembar, 1934).

 

2 Defendant has already shown that the testing methodology was optimized towards metanephrinc at the expense of
normetanephrine. (Defendant‘s Memo at ll-l2). See, also1 the grand jury testimony of Dr. Rieders, attached an
exhibit to Defendant’s Motion to Distniss Indietment1 at Page 24 (“. ..the conditions were directed to
metanephrine,"), NMS offered no prooftliat metanephrinc and normetanephrine have the same rate of
decomposition over the lengthy period and conditions of interment. 'l`hey thus have no sound, scientific basis for
concluding that an elevated metanephrinc to nci-metanephrinc “ratio“ proves endogenous epinephrine administration
without proof of the ability to perform quantitative measurements which are validated and which are the result of
precise, quantitative methodology

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i n i ts Testif` in Court 'l`hc Adhere to the Salne Standa.rds of l r That

arc ll ma'nded in Their Professional Work”
(Rasan v. Ciaa-Geigy corps 730 F.stl sis_, sia (7“‘ cir. 1996), opinion by Pasner, c.J)

 

In an effort to buttress the conclusions drawn by Dr. Rieders concerning his testing of the
embalmed, exhumed tissue in this case, the Government presented testimony from him and Mr.
Vickery that they had begun testing other embalmed, exhumed tissue for the presence of
metanephrine and had also conducted an experiment on exhumed tissue. Furthermore, there Was
testimony offered concerning some “control“ testing within the last year on blind specimens sent
by Dr. Alan Wu. rfhese after»the-fact et`ibrts, which are more in the nature of horne science
projects than actual validating scientific experiments_, were performed in the exact reverse order
required by the scientiiic method -the first time this type oftcsting Was ever done was for this
litigation Once the conclusions were drawn, undocumented additional, confirmatory testing,
most of it anecdotal in nature, Was then performed by the very lab and individuals Whose
methods are under fire. The military calls this kind of approach L"R.eady-l~`ire-Aim.”

Certain facts cannot be disputed:

(l) Both the initial and subsequent “conlirmatory” testing identified grew out of this
litigation rather than from methodologies and studies undertaken prior to litigation. This is a
factor which the Ninth Circ'uit thought should be added to the index of suspicion post-Daubert.
Daubert v. Merre!t Dow Pharmeceuttcals, Inc., 43 F.3d lBl l, 1318 (`9“' Cir. 1995) (on remand).

(2) Mr. Vickery’s training and experience with the equipment and methodology began with
this litigation, in or about Deeember, l997.

(3) NMS never prepared any sort of written bench manual or protocol until at least

September, 1998, after the bulk of the testing had been completed Cjontrary to the claim on page

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29 of the Government’s Response. l'vfr. Vickery admitted that the procedure was “experimental”

up to that point.
(4) Once it was finally prepared, the bench protocol still lacked key information on sample
handling The Govenunent minimizes the significance of omission by elaiming:
“.. .the analyst following the protocol is expected to use his or her professional
judgment with respect to routine issues such as sample quantity. Mr. Vickery
testified that he and any other competent analyst would reserve the right to make
appropriate, minor changes in the protocol to account for degradation and the
quality of the sample. Moreover, even assuming that Gilbert’s criticism is well-
founded, it is not relevant because only one analyst, Mr. Vickery, conducted the

tests at issue here. Given the fact that Mr. Vickery developed the method, there
can be no doubt that he was completely familiar With the procedure.”

To anyone with even a minimal familiarity with the scientific mcthod, this stands most of the
basic principles ot`it on their head. 'l`he whole point is that another professional should be able to
pick up a bench protocol and reproduce every step taken during a particular test without having
to resort to any “seeret ingredient” known only to the author of the recipe.

(5) Dr. Rieders claimed that he and l.\rfr. Vickery have tested other exhumed, embalmed tissue
where there was no “`pedigree” of epinephrinc administration prior to death and were unable to
detect metanephrinc or normetanephrine. There was no documentation presented showing any of
the circumstances of death (i.e., whether any of the subjects had had cardiac arrests), the amount
of time of intennent, the test results, ctc. What the Court was given, instead, was the anecdotal
“ipse dixit” testimony of Dr. Rieders. Even after thc Government’s Response, the fact remains
that nobody but NMS has tested embalmed, exhumed tissue for the presence of metanephrinc
and normetanephrine.

(6) NMS did not set or determine a standard of acceptability for error rate, extraction rate, or
standard deviation before it conducted any of its tests. The Government defends this omission

by asking “. . .how a forensic toxicologist possibly can set pre-test standards of acceptability for

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unique specimens whose results may vary from specimen to specimen and within the same tissue
specimen[?].”
The very question supplies the answer: if the toxicologist cannot set such standards, then any

tests will be inherently unreliable.

Qg§pite the Government’s Artful Dodging, it Must Admit thg Lack of Scientifie Literature
g[ cher Knowledge About Ppstmortem Redistribution or Hydrolysis of Metanephrine and

Nogmgtgnephrine in Serurn or Tis§ue. Hence, the NMS Tcst Resu|t§ gte Mggning|ess.

As explained in Defendant’s Mcmorandum, whatever literature exists about levels of these
metabolites in the blood and urine of living persons at rest does not suffice as a basis for an
assumption about postrnortem tissue. Dr. Rieders conceded that there were no studies regarding
the postmortem redistribution of metanephrinc or nonnetanephrine exist. Indeed, the
Government essentially suggests that the effects ofpostmortem redistribution (`a subject on
which Dr. l ones is an acknowledged expert) cannot be determined because:

“. ..exhurrted1 embalmed tissues are very unique specimens that retain drugs
differently, decomposc different, and have different chemical properties. . .The
uniqueness of exhumed, embalmed tissue specimens will produce variability in

testing results, even within the same exhumed, embalmcd tissue specimens, such
as a liver or kidney.” (Govcrnment .R.esponse at p. 2).

Because of this, the Government asserts, the Court must instead rely on the ipse dixit ofDr.
Rieders. Relying on the ipsa dixit of the expert, rather than on sound, proven scientific
conclusions is precisely what the Supreme Court rejected in ./or‘aar. As Chief fudge Posner of
the Seventh Circuit has noted, “. . .the courtroom is not the place for scientific guesswork, even of
the most inspired sort. Law lags science; it does not lead it.” Rosen v. Cr‘f)cr-Geigy Corp., 780
F.3d 3`16, 319 (7'th Cir. 1996).

Yet, that is what the G'ovemment is asking this Court to do here F- to accept “unscientific
speculation offered by a genuine scientist.” Id. at 318. The audacity of the speculation is even

more pronounced in light of the fact that:

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¢The stability ofMTN, either in the dominant form as sulfate co'njugate or as the free drug,
has never been established in tissue.

lThe fate of epinephrine in the immediate postmortern phase has not been studied.

¢Postmortem redistribution has not been studied for epinephrine or nonnetanephrine and
their metabolites

¢The effect of the disruption of endogcnous reservoirs, either mechanically during
embalming or during decomposition has not been studiedi.

lThe effect ofbacteria, yeast and insects has not been studied

¢The effect of enzyme activity in the immediate postmortem stage has not been studied.

¢The effect of embalming preparations on the stability of epinephrine, norepinephrine,
metanephrinc and nonnetanephrine is unknown

Several additional points need to be made.

First, on Pages lti~l 8 of its Response, the Govemnrent persists in presenting Dr. Rieders’
speculation concerning the possibility that lvfessrs. Skwira, l-ludon and .lagodowski somehow had
lost the ability to metabolizc and cxcrete. 'fhe Government also suggests, as did Dr. Rieders that
an unauthorized injection cf epinephrine, which precipitated their cedcs, also managed to shut
down their circulation As has already been addressed in Defendant’s Memorandum, no
evidence was offered by the Govemment to support these propositions except for the speculation
ofDr. Rieders. Dr. Rieders is not qualified to “. .. interpret clinical symptoms exhibited by
patients and bring to bear medical experience to formulate a diagnosis.°" Wr'rz‘z v. Norrhrop

Corp.. 110 F.3d 503, 512 (7“‘ Cir. 1997`) (toxicologist not pennitted to offer expert opinion

 

"‘ Contrary to what the Government claims in its Response at Page l.‘il1 Note 3, ninety-one percent of plasma
metanephrinc is derived front the adrenal glanr.ls. Er's'enfmji’r, er rrls., Plasrna Metat.lrenalines: Do 'fhey Provid§
(Footnote continued on next pagc)_

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applying principles of toxicology to proximate causation issues involving clinical
determinations). Contrary to the Government’s assertions defendant did not rely on Dr.
Mozayani as a clinician to render a clinical opinion Rathcr, she merely reported what she had
read in Mr. Skwira’s medical record (`as summarized in part in Exhihit C), which demonstrated
that he was excreting without any problem while at Baystate Medical Center. lt was the
evidence presented by NMS through its autopsy toxicology screen that established that Mr.
Skwira was metabolizing the pain medications being given to him. See Page 9, Defendant’s
Memorandum.

The Government again attempts to gloss over the deficiencies in the use of single standard
addition by referring to its Exhibit A, the SOFT/AAFS draft guidelines While the Government
agrees that the use of a suitable internal standard is recommended and that it is the preferable
method, the Government suggests that these guidelines somehow validate the use by NMS of a
single-point standard addition A review of Section 8.3, regarding standard additions
demonstrates that it should only be used when the testing laboratory is unable to obtain a similar
matrix for preparation of reliable calibrators and controls The methodology recommended is
clearly multiple-point standard addition in which “known amounts of analytes are added to
specimen aliquots and quantitation performed by comparing the proportional response of the
fortified aliqu.ots with that ofthe unknown specimen,” This clearly contemplates use of multiple
additions, to calibrate the amount of substance in the unknown sample. The use of only one
addition lends itself to “salting the mine."" 'l`hat is, the operator can put in more than is stated,
either accidentally or on purpose, and will then “find” the excess amount put in. Without

multiple point addition there is no check or balance. ln addition as pointed out, the internal

 

§l§gm| lgfgrmgtion About Sympathoadrenal Funet`pp grid §§gtggholamine Metabolism?, Clinical Scienee (1995),

(Footnote continued on next page).

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standard could have been used in this case because deuterated metanephrinc and
normetanephrine were available or could be manufactured Almost all the articles cited by the
Government in its initial submission used deuterated metabolites or made it from a recipe
provided in one of the articles See, thraetive Aeylation and Mass Spectrometric Assay of 3-
Methoxytyramine, Normetancphrine, and Metan ephrine in Cerebrospinal Fluid, Beck and Faull,
Analytic Biochemistry 149, 492, 494 (1985). (Tab C`;r to Government’s Brief].

Finally, the idea that NMS did not do multiple point standard addition in order to preserve
specimens is questionable - they had the entire corpsc with “amazingly intact” organs
Defendant also points out that, apparently, there are enough specimens available to turn over to
the FBI crime lab for confirmatory tcsting, as set forth on Pages 30-31 of the Government’s
Response. This is yet another instance of behind-closed-doors testing, since defendant has been
informed that the FBl lab will not allow observation by her experts of the continuation testing
when, and if, it is done.

For all these reasons defendant requests that the Court grant her l'vfotion to Exclude the

Testimony ofDr. Rieders and l\/lr. Vickery.

 

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Respectfully submitted

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§.ERTTFICATE C)F SERVlCE

l, l-larry Miles, Esq., hereby certify that on this 01 &"M- day of May, 2000, I served a
copy of the above upon the parties in the action by niaiiing, postage prepaid, to William Ivl.
Welch, 11, Assistant l_lnited Stat.es Attoniey_, O[`licc of the l_lnited States Attoniey, Federal
Building and Courthouse, 1550 Main Street, Room 310, Springficld, MA 01103.

Harry l\/files_. Esq.

Subseribed under the penalties of perjury.

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